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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                               CHARLOTTESVILLE DIVISION


   JOHN DOE and JANE DOE,

                  Plaintiffs,

   v.                                                    Case No. 3:22-cv-49-NKM-JCH

   JOSHUA MAST, et al.,

                  Defendants.


            PLAINTIFFS’ MOTION FOR ATTORNEYS’ FEES AND EXPENSES

         Plaintiffs John and Jane Doe, by counsel, pursuant to this Court’s July 10, 2024

  Memorandum and Order (ECF No. 445), move for an award of their attorneys’ fees and

  expenses incurred in prosecuting their Motion for Sanctions (ECF No. 336). Plaintiffs seek an

  award of $39,568.75 in attorneys’ fees and an additional $2,137.50 in expenses, for a total of

  $41,706.25. As explained in the accompanying Memorandum In Support, the amount Plaintiffs

  request is reasonable in the circumstances of this case.

  Dated: July 31, 2024                          Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 31st day of July, 2024, I electronically filed the foregoing with

  the Clerk of the Court using the CM/ECF system, which will send a notification of such filing to

  all CM/ECF participants.

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